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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

CHRISTOPHER MELTON MAIDT, )
                          )
             Plaintiff,   )
                          )
v.                        )                   Case No. CIV-16-11-R
                          )
OKLAHOMA CITY POLICE      )
DEPARTMENT,               )
                          )
             Defendant.   )

                                   JUDGMENT

     In accordance with the Order entered this 20th day of January, 2016, this matter is

hereby DISMISSED.

     IT IS SO ORDERED this 20th day of January, 2016.
